                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )   CASE NO. 3:11-00249-3
                                               )   JUDGE SHARP
ANDREW BENTLEY SINER                           )

                                           ORDER

         Pending before the Court is Defendant Siner’s Motion to Continue Sentencing (Docket

No. 73) to which the Government does not oppose.

         The motion is GRANTED, and the sentencing set for October 29, 2012 is hereby

rescheduled for November 30, 2012 at 1:30 p.m.

         It is so ORDERED.




                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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